                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                              CASE NO. 3:21-CV-039-DCK

 RAY KIFER, JR.,                                        )
                                                        )
                  Plaintiff,                            )
                                                        )
     v.                                                 )       ORDER
                                                        )
 DAVID SCOTT BURROUGHS, DAVID                           )
 SPENCER, JIMMY WILLIAMS, KYLE                          )
 BEAM, JOSH BEAM, and UNKNOWN                           )
 FEDERAL AGENT,                                         )
                                                        )
                  Defendants.                           )
                                                        )

          THIS MATTER IS BEFORE THE COURT on the parties’ “Joint Motion For Order

Requiring Release Of SBI Records Subject To Protective Order” (Document No. 17) filed October

4, 2021. The parties have consented to Magistrate Judge jurisdiction pursuant to 28 U.S.C. §

636(c), and immediate review is appropriate. Having carefully considered the motion and the

record, the undersigned will grant the motion.

          By the instant motion, the parties note that the State Bureau of Investigation (“SBI”)

conducted an investigation of Defendant Scott Burroughs in 2018 that is relevant to this case.

(Document No. 17). Both sides agree that the SBI’s records “are critical to discovery in this matter;

without them, both sides are at a standstill and unable to proceed with discovery.” (Document No.

17, p. 2).

          The SBI has agreed to release its investigative records to counsel for the parties pursuant

to an agreed-upon proposed Protective Order – if so ordered by the Court. See (Document No.

17-2).




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       Noting the parties’ agreement, and that the proposed Protective Order has also been agreed

to by the SBI, the undersigned finds it appropriate to allow the requested relief.

       IT IS, THEREFORE, ORDERED that the parties’ “Joint Motion For Order Requiring

Release Of SBI Records Subject To Protective Order” (Document No. 17) is GRANTED. The

Court will promptly issue the parties’ and SBI’s proposed Protective Order.

       SO ORDERED.


                                        Signed: October 5, 2021




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